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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                            CASE NO.

WANDA KOEHN,

       Plaintiff,

vs.

AGAPE DIAMONDS, LLC,
a Florida limited liability company,

      Defendant.
______________________________/

                                          COMPLAINT

       Plaintiff WANDA KOEHN, through undersigned counsel, sues Defendant AGAPE

DIAMONDS, a Florida limited liability company, and alleges as follows:

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

Part 36. This is also an action for declaratory and injunctive relief to prevent discrimination which

includes equal access to an internet website for services, to order merchandise, and to secure

information about Defendant’s store online.

       2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

pursuant to 28 U.S.C. §§2201 and 2202.

       3.      Venue is proper in this Court as all actions complained of herein and injuries and

damages suffered occurred in the Middle District of Florida.
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       4.      Plaintiff WANDA KOEHN is a resident of Hillsborough County, Florida, is sui

juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §

12101 (“ADAAA”).

       5.      Plaintiff is and at all relevant times has been visually disabled and suffers from

diabetic retinopathy and macular degeneration, a permanent eye disease and medical condition

that substantially and significantly impairs her vision. Plaintiff thus is substantially limited in

performing one or more major life activities, including, but not limited to, seeing, accurately

visualizing her world, and adequately traversing obstacles. As such, she is a member of a protected

class under the ADA, 42 U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth

at 28 CFR §§ 36.101, et seq., and in 42 U.S.C. § 3602(h).

       6.      Because she is visually disabled, Plaintiff cannot use her computer without the

assistance of appropriate and available screen reader software.

       7.      Defendant is a Florida limited liability company authorized to do business and

doing business in the State of Florida. Defendant owns and operates a retail store at 14341 N. Dale

Mabry Highway, Tampa, Florida, that sells fine jewelry and which Plaintiff intended to patronize.

       8.      Plaintiff’s visual disability limits her in the performance of major life activities,

including sight, and she requires assistive technologies, auxiliary aids and services for effective

communication, including communication in connection with her use of a computer.

       9.      Plaintiff frequently accesses the internet.     Because she is significantly and

permanently visually disabled, in order to effectively communicate and comprehend information

available on the internet and hereby access/comprehend websites, Plaintiff uses commercially

available screen reader software to interface with the various websites.




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       10.     At all times material hereto, Defendant was and still is an organization that owns

and operates a fine jewelry store under the name “Agape Diamonds”. The Agape Diamonds store

is open to the public. As the owner and operator of this retail store, Defendant is defined as a place

of “public accommodation" within meaning of Title III because Defendant is a private entity which

owns and/or operates “[A] bakery, grocery store, restaurant, clothing store, hardware store,

shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7) (E) and 28 C.F.R.

§36.104(2).

       11.     Because Defendant’s store open to the public, the store is a place of public

accommodation subject to the requirements of Title III of the ADA and its implementing

regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

       12.     Defendant controls, maintains, and/or operates an adjunct website called

https://www.diamondslabcreated.com (hereinafter the “Website”). One of the functions of the

Website is to provide the public information on the location of Defendant’s store that sell its

merchandise throughout the United States and within the State of Florida. Defendant also sells to

the public its merchandise and goods through the Website.

       13.     The Website also services Defendant’s physical store by providing information on

its available merchandise, tips and advice, editorials, sales campaigns, events, and other

information that Defendant is interested in communicating to its customers.

       14.     Because the Website allows the public the ability to locate Defendant’s physical

store, purchase merchandise from Defendant that is also available for purchase in its physical store,

and sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts

for use in the physical store, the Website is an extension of, and gateway to, Defendant’s physical

store. By this nexus, the Website is characterized as an intangible service, privilege and advantage



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provided by a place of public accommodation as defined under the ADA and thus an extension of

the services, privileges and advantages made available to the general public by Defendant through

its brick and mortar locations and businesses.

       15.     Because the public can view and purchase Defendant’s merchandise that is also

offered for sale by Defendant in its physical store and sign up for an electronic emailer to receive

offers, benefits, exclusive invitations, and discounts for use in the physical store, the Website is an

extension of, and gateway to, the physical store, which are places of public accommodation

pursuant to the ADA, 42 U.S.C. § 12181(7)(E). As such, the Website is an intangible service,

privilege, and advantage of Defendant’s brick and mortar store locations that must comply with

all requirements of the ADA, must not discriminate against individuals with visual disabilities, and

must not deny those individuals the same full and equal enjoyment of the services, privileges, and

advantages afforded to the non-disabled general public both online and in its physical store.

       16.     At all times material hereto, Defendant was and still is an organization owning and

operating the Website. Since the Website is open to the public through the internet, by this nexus

the Website is an intangible service, privilege, and advantage of Defendant’s brick and mortar

store that must comply with all requirements of the ADA, must not discriminate against individuals

with visual disabilities, and must not deny those individuals the full and equal enjoyment of the

services, privileges, and advantages afforded to the non-disabled public both online and at the

physical store. As such, Defendant has subjected itself and the Website to the requirements of the

ADA.

       17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

patronize once the Website’s access barriers are removed or remedied, Defendant’s physical store

at 14341 N. Dale Mabry Highway, Tampa, Florida, and to check store hours and merchandise



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pricing, purchase merchandise, and sign up for an electronic emailer to receive offers, benefits,

exclusive invitations, and discounts for use at the Website or in Defendant’s physical store.

       18.     The opportunity to shop and pre-shop Defendant’s merchandise, and sign up for an

electronic emailer to receive offers, benefits, exclusive invitations, and discounts for use in the

physical store from her home are important accommodations for Plaintiff because traveling outside

of her home as a visually disabled individual is often difficult, hazardous, frightening, frustrating

and confusing experience. Defendant has not provided its business information in any other digital

format that is accessible for use by blind and visually impaired individuals using the screen reader

software.

       19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

to compare features, discounts, promotions, and prices.

       20.     During the month of January 2020, Plaintiff attempted on a number of occasions to

utilize the Website to browse through the merchandise and online offers and to educate herself as

to the merchandise, sales, discounts, and promotions being offered, with the intent of making a

purchase through the Website or at one of Defendant’s store.

       21.     Plaintiff utilizes screen reader software that allows individuals who are visually

disabled to communicate with websites. However, the Website contains access barriers that

prevent its free and full use by visually disabled individuals using keyboards and available screen

reader software. These barriers are pervasive and include, but are not limited to, the following:

               a. Site information like phone number not properly labeled;

               b. Empty form;

               c. Content was not presented in a way without losing information and structure;
                  and


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               d. Mislabled descriptions for image content.

       22.     The Website also lacks prompting information and accommodations necessary to

allow visually disabled individuals who use screen reader software to locate and accurately fill out

online forms to purchase Defendant’s merchandise from the Website.

       23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

Website that would direct her to a web page with contact information for disabled individuals who

have questions or concerns about, or who are having difficulties communicating with, the Website.

Although the Website appeared to have an “accessibility” link displayed, that “accessibility” link

and its accompanying interface still could not be effectively use or accessed by, and did not remedy

the Website access barriers to, visually disabled persons, including Plaintiff. Plaintiff was unable

to receive any timely or effective assistance to enable her to navigate the Website through the

posted “accessibility” notice.

       24.     The fact that Plaintiff could not communicate with or within the Website left her

feeling excluded, as she is unable to participate in the same online computer shopping experience,

with access to the merchandise, sales, discounts, and promotions as provided at the Website and

for use in the physical store, as the non-visually disabled public.

       25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

as described herein are removed or remedied, to patronize Defendant’s physical store and to use

the Website, but she is unable to fully do so as she is unable to effectively communicate with

Defendant due to her severe visual disability and Defendant’s Website’s access barriers. Thus,

Plaintiff, as well as others who are blind or with visual disabilities, will suffer continuous and

ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set forth

herein unless properly enjoined by this Court.


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        26.     Because of the nexus between Defendant’s retail store and the Website, and the fact

that the Website clearly provides support and is connected to Defendant’s retail store for its

operation and use, the Website is an intangible service, privilege and an advantage of Defendant’s

brick and mortar store that must comply with all requirements of the ADA, must not discriminate

against individuals with disabilities, and must not deny those individuals the same full and equal

enjoyment of the services, privileges, and advantages afforded to the non-disabled public both

online and at its physical locations, which are places of public accommodations subject to the

requirements of the ADA.

        27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

to ensure full and equal use of the Website by individuals with disabilities.

        28.     On information and belief, Defendant has not instituted a Web Accessibility

Committee to ensure full and equal use of Website by individuals with disabilities.

        29.     On information and belief, Defendant has not designated an employee as a Web

Accessibility Coordinator to ensure full and equal use of the Website by individuals with

disabilities.

        30.     On information and belief, Defendant has not instituted a Web Accessibility User

Accessibility Testing Group to ensure full and equal use of the Website by individuals with

disabilities.

        31.     On information and belief, Defendant has not instituted a User Accessibility

Testing Group to ensure full and equal use of the Website by individuals with disabilities.

        32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

        33.     On information and belief, Defendant has not instituted an Automated Web

Accessibility Testing program.



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       34.     On information and belief, Defendant has not created and instituted a Specialized

Customer Assistance line or service or email contact mode for customer assistance for the visually

disabled.

       35.     On information and belief, Defendant has not created and instituted on the Website

a page for individuals with disabilities, nor displayed a link and information hotline, nor created

an information portal explaining when and how Defendant will have the Website, applications,

and digital assets accessible to the visually disabled or blind community.

       36.     On information and belief, the Website does not meet the Web Content

Accessibility Guidelines (“WCAG”) 2.0 Level AA or higher versions of web accessibility.

       37.     On information and belief, Defendant has not disclosed to the public any intended

audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals who want the safety and privacy of purchasing Defendant’s merchandise offered on

the Website online from their homes.

       38.     Thus, Defendant has not provided full and equal enjoyment of the services,

facilities, privileges, advantages, and accommodations provided by and through the Website, in

contravention of the ADA.

       39.     Further, public accommodations under the ADA must ensure that their places of

public accommodation provide effective communication for all members of the general public,

including individuals with disabilities such as Plaintiff.

       40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

with disabilities to participate in and benefit from all aspects of American civic and economic life.

That mandate extends to internet shopping websites, such as the Website.




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        41.     On information and belief, Defendant is, and at all times has been, aware of the

barriers to effective communication within the Website which prevent individuals with disabilities

who are visually disabled from the means to comprehend information presented therein.

        42.     On information and belief, Defendant is aware of the need to provide full access to

all visitors to the Website.

        43.     The barriers that exist on the Website result in discriminatory and unequal

treatment of individuals with disabilities who are visually disabled, including Plaintiff.

        44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove, and this suit for declaratory judgment and injunctive relief is her only means

to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

in connection with its website access and operation.

        45.     Notice to Defendant is not required because of Defendant’s failure to cure the

violations.

        46.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§2201 and 2202.

        47.     Plaintiff has retained the undersigned attorneys to represent her in this case, and has

agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

        48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

        49.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

the ADA because it owns and/or operates the Website, as defined within §12181(7)(E) and is

subject to the ADA.




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       50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

because it provides the general public with the ability to locate Defendant’s retail store, purchase

merchandise available at the ratail store, and sign up for an electronic emailer to receive offers,

benefits, exclusive invitations, and discounts for use at the retail store. The Website thus is an

extension of, gateway to, and intangible service, privilege, and advantage of Defendant’s physical

store. Further, the Website also serves to augment Defendant’s physical store by providing the

public information on the location of the store and by educating the public as to Defendant’s

available merchandise sold through the Website and in its physical store.

       51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

       52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.”

       53.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

discrimination includes, among other things, “a failure to take such steps as may be necessary to

ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of



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the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.”

       54.     Defendant’s Website must comply with the ADA, but it is not, as specifically

alleged hereinabove and below.

       55.     Because of the inaccessibility of the Website, individuals with disabilities who are

visually disabled are denied full and equal enjoyment of the information and services that

Defendant has made available to the public on its Website, and at its physical store, in violation of

42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

       56.     The Website was subsequently visited by Plaintiff’s expert in March and July 2020,

and the expert determination was that the same access barriers that Plaintiff had initially

encountered, as well as numerous additional access barriers, existed and that Defendant had made

no material changes or improvements to the Website to enable its full use, enjoyment and

accessibility for visually disabled persons such as Plaintiff. Despite having received a written

demand from Plaintiff to remdiate the Website in April 2020, Defendant still has not adequately

remedies all of the Website’s access barriers to make it fully accessible to blind and visually

disabled person such as Plaintiff. Defendant also has not disclosed to the public any intended

audits, changes, or lawsuits to correct the inaccessibility of the Website to visually disabled

individuals. In addition, although Defendant implemented and posted an “accessibility” statement

and interface on the Website through an outside vendor, that statement and interface were tested

and found not to be efectvie or redner the Webasite fully accessible to blind and visually disabled

persons and thus did not provide a viable alternative means of access and navigation of the Website

for such individuals. Defendant, thus, has failed to make reasonable modifications in its policies,

practices, or procedures, when such modifications are necessary to afford goods, services,



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facilities, privileges, advantages, or accommodations to individuals with disabilities, in violation

of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility” notice, policy, or statement

and the numerous continuing access barriers as set forth in the Declaration of Plaintiff’s expert,

Robert D. Moody, which is attached hereto as Composite Exhibit “A” and the comntents of which

are incorporated herein by reference, continue to render the Website not fully accessible to users

who are blind and visually disabled, including Plaintiff.

        57.     More violations may be present on other pages of the Website, which can and will

be determined and proven through the discovery process in this case.

        58.     Further, the Website does not offer or include the universal symbol for the disabled

that would permit disabled individuals to access the Website’s accessibility information and

accessibility facts.

        59.     There are readily available, well established guidelines on the internet for making

websites accessible to the blind and visually disabled. These guidelines have been followed by

other large business entities in making their websites accessible. Examples of such guidelines

include, but not limited to, adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating such basic components to make the Website accessible

would neither fundamentally alter the nature of Defendant’s business nor would it result in an

undue burden to the Defendant.

        60.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

access to the Website by individuals, such as Plaintiff, with visual disabilities who requires the

assistance of interface with screen reader software to comprehend and access internet websites.

These violations within the Website are ongoing.




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       61.     The ADA and ADAAA require that public accommodations and places of public

accommodation ensure that communication is effective.

       62.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

specifically states that screen reader software is an effective method of making visually delivered

material available to individuals who are blind or have low vision.

       63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

appropriate auxiliary aids and services where necessary to ensure effective communication with

individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

in accessible formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

       64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

public accommodations, and requires places of public accommodation to be designed, constructed,

and altered in compliance with the accessibility standards established by Part 36.

       65.     As alleged hereinabove, the Website has not been designed to interface with the

widely and readily available technologies that can be used to ensure effective communication, and

thus violates the ADA.

       66.     As a direct and proximate result of Defendant’s failure to provide an ADA

compliant Website, with a nexus to its brick and mortar physical store locations, Plaintiff has

suffered an injury in fact by being denied full access to and enjoyment of Defendant’s Website

and physical store.




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       67.     Because of the inadequate development and administration of the Website, Plaintiff

is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

ongoing disability discrimination.

       68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff appropriate and necessary injunctive relief; including an order to:

       a) Require Defendant to adopt and implement a web accessibility policy to make publicly

available and directly link from the homepage of the Website to a statement as to the Defendant’s

policy to ensure persons with disabilities have full and equal enjoyment of the services, facilities,

privileges, advantages, and accommodations through the Website.

       b) Require Defendant to take the necessary steps to make the Website readily accessible

to and usable by visually disabled users, and during that time period prior to the Website’s being

readily accessible, to provide an alternative method for individuals with visual disabilities to access

the information available on the Website until such time that the requisite modifications are made,

and

       c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

visual impairments will be able to effectively communicate with the Website for purposes of

viewing and locating Defendant’s physical store and locations, and becoming informed of and

purchasing Defendant’s merchandise online, and during that time period prior to the Website’s

being designed to permit individuals with visual disabilities to effectively communicate, to provide

an alternative method for individuals with visual disabilities to effectively communicate for such

goods and services made available to the general public through the Website.

       69.     Plaintiff is entitled to recover her reasonable attorney’s fees, costs and expenses

pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel



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for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

services.

       WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendant for

the following relief:

       A. A declaration that Defendant’s Website is in violation of the ADA;

       B. An Order requiring Defendant, by a date certain, to update the Website, and continue

            to monitor and update the Website on an ongoing basis, to remove barriers in order that

            individuals with visual disabilities can access, and continue to access, the Website and

            effectively communicate with the Website to the full extent required by Title III of the

            ADA;

       C. An Order requiring Defendant, by a date certain, to clearly display the universal

            disabled logo within the Website, wherein the logo 1 would lead to a page which would

            state Defendant’s accessibility information, facts, policies, and accommodations. Such

            a clear display of the disabled logo is to ensure that individuals who are disabled are

            aware of the availability of the accessible features of the Website;

       D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

            accessibility by implementing a website accessibility coordinator, a website application

            accessibility policy, and providing for website accessibility feedback to ensure

            compliance thereto;




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                    or similar.

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      E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

         procedures toward persons with disabilities, for such reasonable time to allow

         Defendant to undertake and complete corrective procedures to its Website;

      F. An Order directing Defendant, by a date certain, to establish a policy of web

         accessibility and accessibility features for the Website to ensure effective

         communication for individuals who are visually disabled;

      G. An Order requiring, by a date certain, that any third-party vendors who participate on

         Defendant’s Website to be fully accessible to the visually disabled;

      H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

         provide mandatory web accessibility training to all employees who write or develop

         programs or code for, or who publish final content to, the Website on how to conform

         all web content and services with ADA accessibility requirements and applicable

         accessibility guidelines;

      I. An Order directing Defendant, by a date certain and at least once every three months

         thereafter, to conduct automated accessibility tests of the Website to identify any

         instances where the Website is no longer in conformance with the accessibility

         requirements of the ADA and any applicable accessibility guidelines, and further

         directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

         counsel for review;

      J. An Order directing Defendant, by a date certain, to make publicly available and directly

         link from the Website homepage, a statement of Defendant’s Accessibility Policy to

         ensure the persons with disabilities have full and equal enjoyment of the Website and




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         shall accompany the public policy statement with an accessible means of submitting

         accessibility questions and problems;

      K. An award to Plaintiff of her reasonable attorney’s fees, costs and expenses; and

      L. Such other and further relief as the Court deems just and equitable.

      DATED: August 7, 2020.



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